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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS


 SALEM MEDIA OF ILLINOIS, LLC,
 and AMY JACOBSON,

               Plaintiffs,
                                                 No. 1:20-cv-3212
 v.

 J.B. PRITZKER, in his official capacity
 as Governor of the State of Illinois, and
 JORDAN ABUDAYYEH, in her official               Notice of Voluntarily Dismissal
 capacity as the Governor’s press                      Without Prejudice
 secretary,

              Defendants.


Pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(i), prior to Defendants serving an answer
or motion for summary judgment, Plaintiffs provide the Court with notice of their
voluntarily dismissal of their case without prejudice. The parties have reached a
satisfactory resolution and each side has agreed to bear its own costs and fees.


Dated: June 16, 2020                             Respectfully Submitted,

                                                 SALEM MEDIA OF ILLINOIS, LLC

                                                 AMY JACOBSON

                                                 By:   /s/ Daniel R. Suhr

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